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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No: 1:11-cr-188

v                                                            HON. JANET T. NEFF

DAVID ANTONIO ALLEN,

               Defendant.
                                            /


                ORDER ADOPTING REPORT AND RECOMMENDATION

        The Court has reviewed the Amended Report and Recommendation filed October 20, 2011

by the United States Magistrate Judge in this action. The Amended Report and Recommendation

was duly served on the parties, and no objection has been made thereto within the time required by

law.

        THEREFORE, IT IS ORDERED that:

        1. The Amended Report and Recommendation of the Magistrate Judge (Dkt 63) is approved

and adopted as the opinion of the Court.

        2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charge

set forth in Count One of the Indictment.

        3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: November 7, 2011                          /s/Janet T. Neff
                                                JANET T. NEFF
                                                UNITED STATES DISTRICT JUDGE
